                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                CHICAGO DIVISION

                                            :
In re:                                      :
                                            :
   Monica K. Zablocka                       :    Case No.: 13-40899
   AKA Monica Shereshovech                  :    Chapter 7
                                            :    Judge Carol A. Doyle
         Debtor.                            :    *********************
                                            :


                                   NOTICE OF MOTION

Notified via Electronic Filing

U.S. Trustee
Patrick S. Layng
Office of the United States Trustee, Region 11
219 S. Dearborn Street
Room 873
Chicago, IL 60604

Ira Bodenstein
321 N. Clark St., Suite 800
Chicago, IL 60654

Arthur Czaja
Attorney for Monica K. Zablocka
AKA Monica Shereshovech
Law Office of Arthur C. Czaja
6121 N. Northwest Hwy., Ste. 104
Chicago, IL 60631
attorneyarthur@aol.com

Notified via US Postal Service

Monica K. Zablocka AKA Monica Shereshovech
668 Weidner Road
Buffalo Grove, IL 60089

Please take notice that on December 18, 2013, at 10:00AM, or as soon thereafter as I may be
heard, I shall appear before the Honorable Judge Carol A. Doyle, 219 South Dearborn, 742,
13-031573_RDH2
Chicago, IL, 60604 or before any other Bankruptcy Judge who may be presiding in his/her place
and stead and shall then and there present the accompanying motion. At that time and place you
may attend if you so choose.

                                   AFFIDAVIT OF SERVICE

The undersigned, an attorney, hereby certifies that I have served a copy of this Notice along with
the attached m otion upon the partie s listed above, by causing sam e to be m ailed in a properly
addressed envelope, postage prepaid, from 1400 Goodale Blvd, Gra ndview Heights, OH 43212,
before the hour of 5:00pm on 2 7th day of November, 2013, unless a copy w as provided
electronically by the Clerk of the Court.

Date November 27, 2013                                 /s/ Cari A. Kauffman
                                                      Signature

                                 CERTIFICATE OF SERVICE


       The undersigned hereby certifies that a copy of the foregoing Notice of Motion was

served on the parties listed below via e-mail notification:

U.S. Trustee                                          Arthur Czaja
Patrick S. Layng                                      Attorney for Monica K. Zablocka
Office of the United States Trustee,                  AKA Monica Shereshovech
Region 11                                             Law Office of Arthur C. Czaja
219 S. Dearborn Street                                6121 N. Northwest Hwy., Ste. 104
Room 873                                              Chicago, IL 60631
Chicago, IL 60604                                     attorneyarthur@aol.com

Ira Bodenstein
321 N. Clark St., Suite 800
Chicago, IL 60654

The below listed parties were served via regular U.S. Mail, postage prepaid, from 1400 Goodale
Blvd, Grandview Heights, OH 43212, before the hour of 5:00 p.m. on November 27, 2013:

Monica K. Zablocka AKA Monica
Shereshovech
668 Weidner Road
Buffalo Grove, IL 60089
                                                      /s/ Cari A. Kauffman
                                                      Cari A. Kauffman


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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
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In re:                                         :
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   Monica K. Zablocka                          :    Case No.: 13-40899
   AKA Monica Shereshovech                     :    Chapter 7
                                               :    Judge Carol A. Doyle
         Debtor.                               :    *********************
                                               :



                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                               (FIRST MORTGAGE)

The creditor, Nationstar Mortgage LLC, hereby moves the Court, pursuant to 11 U.S.C. § 362(d)

to lift the automatic stay from the estate the following real property:

            668 Weidner Road, Buffalo Grove, IL 60089, (hereinafter the "Property").

In support of the motion, the Creditor states the following:

         1. This Court has jurisdiction pursuant to 28 U.S.C. § 1334 and General Rule 2.33 of the

United States District Court for the Northern District of Illinois;

         2. Monica K. Zablocka AKA Monica Shereshovech (hereinafter ''Debtor'') filed a

Chapter 7 case on October 18, 2013, (hereinafter the "Petition Date").

         3. The court has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334. This is a

core proceeding under 28 U.S.C. § 157(b)(2). The venue of this case and this Motion are proper

under 28 U.S.C. § 1408 and 1409.




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       4. As of the Petition Date, the Creditor was the holder of a claim secured by the

Property, more particularly described in the Mortgage, a copy of which is attached as Exhibit

"A".

       5. The above described Mortgage was given to secure a promissory note, (hereinafter

the "Note"), dated June 27, 2008 and made payable to the Creditor in the original sum of

$191,344.00. A copy of the Note is attached hereto as Exhibit "B".

       6. The Creditor perfected an interest in the Property, more particularly described in the

Mortgage, recorded in Cook County Recordings Office on July 3, 2008. Evidence of perfection

is attached as Exhibit "A".

       7. Attached are redacted copies of any documents that support the claim, such as

promissory notes, purchase order, invoices, itemized statements of running accounts, contracts,

judgments, mortgages, and security agreements in support of right to seek a lift of the automatic

stay and foreclose if necessary. As of the date of filing this motion, the outstanding principal of

the Note was $180,965.01 and the outstanding interest was $15,382.11.

       8. The Property is burdensome and/or of inconsequential value and benefit to the estate.

Cause exists to lift the automatic stay under 11 U.S.C. § 362(d)(1) and/or 362(d)(2) for these

reasons:

       a.      Debtor has no equity in the Property. Creditor believes that the Property has a
               value of $90,000.00 based on the Debtor's Schedule A, which is attached hereto
               as Exhibit "C". The balance on Creditor's first mortgage exceeds the value of the
               Property. Based upon the lack of equity in the Property, Creditor asserts that the
               Property is burdensome and/or of inconsequential value and benefit to the estate.

       b.      The Creditor is not being adequately protected. Per the Note and Mortgage,
               payments are applied to the last month due. Base on the foregoing, Debtor has
               failed to make periodic payments to Creditor since August 2012 through
               November 2013.

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       WHEREFORE, Creditor prays for an Order Terminating the Automatic Stay of 11 U.S.C.

§ 362 of the Bankruptcy Code as to the Creditor and its principal, successors, heirs and assigns

with respect to the subject property located at 668 Weidner Road, Buffalo Grove, IL 60089.

Additionally, Creditor requests the Fed.R.Bankr.P. 4001(a)(3) be waived so that the Order

Terminating the Automatic Stay have immediate effect.

                                                     Respectfully submitted,

                                                     /s/ Cari A. Kauffman
                                                     Cari A. Kauffman (6301778)
                                                     Keith Levy (6279243)
                                                     Sarah E. Willms (28840-64)
                                                     Stacey A. O'Stafy (0070386)
                                                     Manley Deas Kochalski LLC
                                                     P.O. Box 165028
                                                     Columbus OH 43216-5028
                                                     614-220-5611; Fax: 614-627-8181
                                                     Attorneys for Creditor
                                                     The case attorney for this file is Cari A.
                                                     Kauffman.
                                                     Contact email is cak@manleydeas.com




13-031573_RDH2
                                 CERTIFICATE OF SERVICE


       The undersigned hereby certifies that a copy of the foregoing Motion for Relief from the

Automatic Stay and for Abandonment of Property of the Estate (First Mortgage) was served on

the parties listed below via e-mail notification:

U.S. Trustee                                        Arthur Czaja
Patrick S. Layng                                    Attorney for Monica K. Zablocka
Office of the United States Trustee, Region         AKA Monica Shereshovech
11                                                  Law Office of Arthur C. Czaja
219 S. Dearborn Street                              6121 N. Northwest Hwy., Ste. 104
Room 873                                            Chicago, IL 60631
Chicago, IL 60604                                   attorneyarthur@aol.com

Ira Bodenstein
321 N. Clark St., Suite 800
Chicago, IL 60654

The below listed parties were served via regular U.S. Mail, postage prepaid, from 1400 Goodale
Blvd, Grandview Heights, OH 43212, before the hour of 5:00 p.m. on November 27, 2013:

Monica K. Zablocka
AKA Monica Shereshovech
668 Weidner Road
Buffalo Grove, IL 60089
                                                    /s/ Cari A. Kauffman
                                                      Cari A. Kauffman




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